                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK


LIANG YANG, Individually and on behalf of
all others similarly situated,

                             Plaintiff,

              v.
                                                       Civil Action No. 1:21-cv-01047-FB-RLM
TRUST FOR ADVISED PORTFOLIOS,
                                                       CLASS ACTION
INFINITY Q CAPITAL MANAGEMENT,
LLC, CHRISTOPHER E. KASHMERICK,
JOHN C. CHRYSTAL, ALBERT J. DIULIO,
S.J., HARRY E. RESIS, RUSSELL B. SIMON,
LEONARD POTTER, and JAMES
VELISSARIS,

                             Defendants.


                   DISCLOSURE STATEMENT PURSUANT TO RULE 7.1

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned counsel for

Defendant Infinity Q Capital Management, LLC (“IQCM”) makes the following disclosure:

       IQCM is a private non-governmental party. It is principally owned by Infinity Q

Management Equity, LLC and Bonderman Family Limited Partnership. No publicly traded

corporation holds 10% or more of its stock.
Dated: New York, New York
       March 8, 2021


                            /s/ George S. Canellos

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                            Attorneys for Defendants Infinity Q Capital
                            Management, LLC and Leonard Potter




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